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      BRIAN D. NETTER                                     JOSEPH JARAMILLO (SBN 178566)
 1    Deputy Assistant Attorney General                   jjarmillo@heraca.org
      STEPHANIE HINDS                                     HOUSING & ECONOMIC RIGHTS
 2    United States Attorney                              ADVOCATES
      MARCIA BERMAN                                       3950 Broadway, Suite 200
 3    Assistant Branch Director                           Oakland, CA 94611
      R. CHARLIE MERRITT                                  Tel.: (510) 271-8443
 4    STUART J. ROBINSON                                  Fax: (510) 868-4521
      Trial Attorneys
 5    U.S. Department of Justice                          EILEEN M. CONNOR (SBN 248856)
      Civil Division, Federal Programs Branch             econnor@ppsl.org
 6    1100 L Street NW                                    REBECCA C. ELLIS (pro hac vice)
      Washington, DC 20005                                rellis@ppsl.org
 7    Telephone: (202) 616-8098                           REBECCA C. EISENBREY (pro hac vice)
      E-mail: robert.c.merritt@usdoj.gov                  reisenbrey@ppsl.org
 8                                                        PROJECT ON PREDATORY STUDENT
      Attorneys for Defendants                            LENDING, INC.
 9                                                        769 Centre Street, Suite 166
                                                          Jamaica Plain, MA 02130
10                                                        Tel.: 617-390-2669
                                                          Fax: 781-218-9625
11
                                                          Attorneys for Plaintiffs
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                             UNITED STATES DISTRICT COURT
14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
16    THERESA SWEET, et al.,
                                                           No. 3:19-cv-03674-WHA
17                      Plaintiffs,
18           v.
19                                                         JOINT RESPONSE TO NOVEMBER 4,
      MIGUEL CARDONA, in his official capacity             2022 ORDER
20    as Secretary of Education, and the UNITED
      STATES DEPARTMENT OF EDUCATION
21
                        Defendants.
22
23
24
            On November 4, 2022, the Court entered an order requiring the submission of certain
25
     information prior to the November 9, 2022 final fairness hearing. See Request for Information and
26
     Logistics for Next Week’s Hearing, ECF No. 334 (“Nov. 4 Order”). The parties hereby submit
27
     the following response.
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 1            First, the Court requested the Secretary and Plaintiffs to provide “a list of all group
 2   discharges of student loans made pursuant to 20 U.S.C. Section 1082(a)(6),” including “the date
 3   of the discharge, the number of borrowers impacted by each discharge, and the total dollar amount
 4   of loans cancelled.” Nov. 4 Order at 1. Defendants provide the list and information below, subject
 5   to a few caveats. First, Defendants do not, as a general matter, keep records of each and every
 6
     exercise of the Secretary’s authority to compromise student loan debts under this source of
 7
     authority, so the list is necessarily underinclusive. Second, the Secretary has most often used this
 8
     authority to compromise student loan debts on an individualized, case-by-case basis, as opposed
 9
     to providing group discharges. Third, the data below regarding number of borrowers and amounts
10
     discharged are estimates, compiled to the best of Defendants’ ability.
11
         School                                           Date Announced1      Est. Number     Est. Amount
12                                                                             of Borrowers     Discharged
         Dream Center Education Holdings (Art Inst.         Nov. 8, 2019           7,400       $175,000,000
13        of Colo.; Ill. Inst. of Art)
         Weingarten v. Cardona, No. 1:19-cv-02056-          Oct. 12, 2021           7            $283,000
14
          DLF (D.D.C.)2
15                                                       July 15, 2021; Feb.      1,191        $26,000,000
         Minnesota Sch. of Bus./Globe Univ.                   16, 2022
16       Marinello Schools of Beauty                        Apr. 28, 2022         28,000       $238,000,000
         Corinthian Colleges, Inc. (Everest; Heald          June 1, 2022         560,000      $5,800,000,000
17         College; WyoTech)
         ITT Technical Institute                            Aug. 16, 2022        208,000      $3,900,000,000
18       Westwood College                                   Aug. 30, 2022         79,000      $ 1,500,000,000

19            Defendants further note that the five group discharges provided this year applied to

20   borrowers with both Direct Loans and Federal Family Education Loans.

21            Second, the Court ordered the Secretary to provide “a brief statement regarding loans
22
23
     1
       The list provides the date that each group’s discharge was announced rather than “the date of
     the discharge,” Nov. 4 Order at 1, because the discharges unfold in a multi-step process that
24   causes the actual discharge date to vary within each relevant group.
     2
        In 2017, the Department agreed to settle another class action lawsuit, Salazar v. King, 14-cv-
25
     1230 (RWS) (S.D.N.Y.), challenging the Department’s denial of applications for student loan
26   discharges based on a school’s false certification of eligibility, by accepting a lower level of
     evidence for class member applications than would otherwise be required. The case did not
27   involve a “group discharge,” but Defendants reference it here because it involved a similar exercise
     of the Secretary’s settlement and compromise authority to that contemplated in the proposed
28
     settlement here.

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 1   implicated by our settlement made pursuant to the Federal Family Education Loan [FFEL]
 2   Program,” and specifically how ‘the Department would compensate the private FFEL loan holder
 3   for the discharge amount.’” Nov. 4 Order at 1.
 4          In the borrower defense context, a borrower with a privately-held FFEL loan must typically
 5
     consolidate that loan into a Direct Consolidation Loan to receive borrower defense relief. See 34
 6
     C.F.R. § 685.212(k). In those cases, the FFEL loan held by the private lender is paid off by a
 7
     Department-made Direct Consolidation Loan, which the Department, in turn, discharges. See id.
 8
            In the context of this settlement, class members with privately-held FFEL loans will not
 9
     have to consolidate their loans to receive settlement relief.3 The Department will work with the
10
     guaranty agencies that ensure private FFEL loans and lenders to carry out a process used for FFEL
11
     loans in the past to effectuate other discharges, including borrower-defense-related discharges
12
     provided for in court orders. See, e.g., Vara v. DeVos, No. 19-CV-12175-LTS, 2020 WL 3489679,
13
     at *34 (D. Mass. June 25, 2020). For FFEL loans that are held by lenders, that process involves
14
15   coordinating with the lenders and guaranty agencies to obtain and share the information needed to

16   complete the discharge, such as the loan amount. The guaranty agency will purchase the loan from

17   the lender by paying the lender the amount of the outstanding principal and interest on the loan.

18   This is the same process that the guaranty agency and lender would follow when a loan enters

19   default. See 20 U.S.C. § 1078(c); 34 C.F.R. § 682.406(a). Once the guaranty agency has obtained
20   the loan, it discharges the borrower’s loan obligation and is subsequently reimbursed by the
21   Department for the amount it paid the lender.
22          Third, the Court ordered the Secretary and Plaintiffs to “address the extent to which the
23   ongoing litigation and the stay imposed by the Court of Appeals for the Eighth Circuit has on our
24   action, if any. See Nebraska v. Biden, No. 22-3179 (8th Cir. filed Oct. 21, 2022).” Nov. 4 Order
25
     3
26     This answer concerns FFEL loans held by a lender and does not address FFEL loans that are held
     by a guaranty agency or the Department. For FFEL loans held by a guaranty agency—which
27   would be a loan that is in default or in bankruptcy—the guaranty agency discharges the loans and
     is subsequently reimbursed by the Department. FFEL loans held by the Department will be
28
     discharged in the same way as Direct Loans.

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 1   at 1.
 2             The referenced litigation challenges a recent determination by the Secretary to provide a
 3   measure of targeted, one-time student loan debt cancellation pursuant to his authority under the
 4   Higher Education Relief Opportunities for Students Act, Pub. L. 108-76, 117 Stat. 904 (2003)
 5
     (codified at 20 U.S.C. §§ 1098aa-1098ee) (“HEROES Act”).                  Neither the Secretary’s
 6
     determination, nor the litigation attacking it, has any impact on the Court’s determination of
 7
     whether the parties’ proposed settlement agreement is fair, adequate, and reasonable for the class.
 8
     The HEROES Act is not at issue here—as elsewhere noted, the loan discharges contemplated in
 9
     the proposed settlement agreement are pursuant to the Secretary’s authority under a different
10
     statutory provision, 20 U.S.C. § 1082(a)(6). After one of the HEROES Act cases was dismissed
11
     on standing grounds, the Eighth Circuit entered an “administrative stay”—which prohibits the
12
     discharge of student loan debt under the challenged program while the court considers plaintiffs’
13
     motion for an injunction pending appeal, see Order, Nebraska v. Biden, No. 22-3179 (8th Cir. Oct.
14
15   21, 2022)—but that “administrative stay” (which was issued without merits briefing and is not a

16   determination on the merits) has no effect on this litigation.

17             Defendants are committed to providing class members the degree of relief to which they

18   are entitled under the proposed settlement agreement, regardless of whether they may receive a

19   measure of loan relief through other available avenues.                 Cf. Proposed Settlement
20   Agreement § IV.A.4, ECF No. 246-1 (parties’ acknowledgement that some class members may be
21   eligible for loan discharges outside of the settlement and agreement that any class member deemed
22   eligible for such relief “shall receive Full Settlement Relief pursuant to this Agreement”). In other
23   words, while settlement relief (i.e., discharge plus refund) may not exceed a class member’s
24   combined amounts of federal student loan debt owed to and collected by the Secretary, see 34
25
     C.F.R. § 685.206(c)(1); 34 C.F.R. § 685.206(e)(iii); 34 C.F.R. § 685.222(a)(5)), the settlement
26
     agreement operates independently of other statutory avenues for providing class members debt
27
     relief.
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 1   Dated: November 9, 2022                 Respectfully submitted,
 2
     /s/ Rebecca C. Ellis                       BRIAN D. NETTER
 3                                              Deputy Assistant Attorney General
     EILEEEN M. CONNOR (SBN 248856)
 4   econnor@ppsl.org
     REBECCA C. ELLIS (pro hac vice)            MARCIA BERMAN
     rellis@ppsl.org                            Assistant Branch Director
 5
     REBECCA C. EISENBREY (pro hac vice)
     reisenbrey@ppsl.org                        /s/ R. Charlie Merritt
 6                                              R. CHARLIE MERRITT
     PROJECT ON PREDATORY STUDENT
     LENDING, INC.                              STUART J. ROBINSON
 7                                              Trial Attorneys
     769 Centre Street, Suite 166
     Jamaica Plain, MA 02130                    U.S. Department of Justice
 8                                              Civil Division, Federal Programs Branch
     Tel.: 617-390-2669
     Fax: 781-218-9625                          1100 L Street NW
 9                                              Washington, DC 20005
     JOSEPH JARAMILLO (SBN 178566)              Telephone: (202) 616-8098
10                                              E-mail: robert.c.merritt@usdoj.gov
     jjarmillo@heraca.org
11   HOUSING & ECONOMIC RIGHTS
     ADVOCATES                                  Attorneys for Defendants
12   3950 Broadway, Suite 200
     Oakland, CA 94611
13   Tel.: (510) 271-8443
     Fax: (510) 868-4521
14
     Attorneys for Plaintiffs
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